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Case 2:04-cv-09049-DOC-RNB Document 4374-14 Filed 10/20/08 Page 6 of 88 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-14 Filed 10/20/08 Page 11 of 88 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-14 Filed 10/20/08 Page 12 of 88 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-14 Filed 10/20/08 Page 17 of 88 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-14 Filed 10/20/08 Page 18 of 88 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-14 Filed 10/20/08 Page 19 of 88 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-14 Filed 10/20/08 Page 23 of 88 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-14 Filed 10/20/08 Page 24 of 88 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-14 Filed 10/20/08 Page 25 of 88 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-14 Filed 10/20/08 Page 26 of 88 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-14 Filed 10/20/08 Page 27 of 88 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-14 Filed 10/20/08 Page 28 of 88 Page ID
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